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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION
                                      )                   Case No. 2:19-cv-00291-JRG-RSP
  ULTRAVISION TECHNOLOGIES, LLC,      )                   (LEAD CASE)
                                      )
                                      )                   JURY TRIAL DEMANDED
                  Plaintiff,
                                      )
                  v.                  )
                                      )
  HOLOPHANE EUROPE LIMITED, ACUITY )
  BRANDS LIGHTING DE MEXICO S DE RL )
  DE CV, HOLOPHANE, S.A. DE C.V., AND )
  ARIZONA (TIANJIN) ELECTRONICS       )
  PRODUCTS TRADE CO., LTD.,           )
                                      )                   Case No. 2:19-cv-00398-JRG-SP
  YAHAM OPTOELECTRONICS CO.,          )                   (CONSOLIDATED CASE)
  LTD.,                               )                   JURY TRIAL DEMANDED
                  Defendants.         )
                                      )

                          JOINT MOTION TO STAY ALL DEADLINES
                               AND NOTICE OF SETTLEMENT

         Plaintiff Ultravision Technologies, LLC (“Ultravision”) and Defendant Yaham

  Optoelectronics Co., Ltd. (“Yaham”) hereby file this Joint Motion to Stay All Deadlines and

  Notice of Settlement.

         All matters in controversy between the parties have been settled in principle. The parties

  respectfully request a stay of all case deadlines for thirty (30) days while the parties finalize a

  settlement agreement and file dismissal documents with the Court.

         WHEREFORE, the parties respectfully request that the Court enter the proposed order

  submitted with this motion as set forth above.

  Dated: January 13, 2021                                Respectfully submitted

                                                         /s/ Alfred R. Fabricant
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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on January 13, 2021, a true and correct copy of the

  above and foregoing document has been served on counsel of record via the Court’s CM/ECF

  system per Local Rule CV-5(a)(3).

                                                      /s/ Alfred R. Fabricant
                                                         Alfred R. Fabricant




                              CERTIFICATE OF CONFERENCE

         The undersigned hereby certifies that all counsel of record have met and conferred in

  accordance with Local Rule CV-7(h) and this joint motion is unopposed.

                                               /s/Alfred R. Fabricant
                                                  Alfred R. Fabricant
